            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:19-cv-624

 DAVID DUVALL,                        )
                                      )
           Plaintiff,                 )
                                      )
      v.                              )
                                      )
 NOVANT HEALTH, INC.                  )
                                      )
           Defendants.                )
                                      )
                                      )
                                      )


   Plaintiff’s Motion for an Award of Attorney’s Fees and Costs.

      Plaintiff, through counsel and pursuant to 42 U.S.C. § 2000e-

5(k), and moves the Court for an award of costs, including a reasonable

attorney’s fee, as the prevailing party in this action.

      Plaintiff files a Memorandum and Exhibits in support of this

motion.




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Respectfully submitted, this the 26th day of August, 2012.


                                              /s/ S. Luke Largess
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                     CERTIFICATE OF SERVICE

     I hereby certify that I have this day electronically filed the foregoing
document with the Clerk of Court using the CM/ECF system, which will
send notification of the filing to all counsel of record:

      This is the 26th day of August, 2022.


                               /s/S. Luke Largess
                               N.C. Bar No. 17486
                               Attorney for Plaintiff




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